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Attorneys for Plaintiff
John Doe

                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  John Doe.
                                                          Case No. 2:21-cv-20706
                 Plaintiff,
                                                          Certification of Declaration of Daniel S.
         v.                                               Szalkiewicz, Esq. in Support of Request
                                                          for Entry of Default
 Baila Sebrow

                 Defendant

       DANIEL S. SZALKIEWICZ, of full age, hereby certifies and states:

       1.       I am a partner at the law firm of Daniel Szalkiewicz & Associates, P.C., attorneys

for the Plaintiff in the above-captioned action. As such, I have personal knowledge of the facts

contained herein.

       2.       I make this Certification in support of Plaintiff’s application for the entry of

default against defendant Baila Sebrow (“Defendant”), pursuant to Federal Rule of Civil

Procedure 55(a).

       3.       Plaintiff’s Complaint in this matter was filed on December 23, 2021 (DE 1). The

Summons was issued on December 28, 2021 (DE 2).

       4.       On December 29, 2021, the Summons and Complaint, Notice of a Lawsuit,

Request to Waive Service of a Summons, and two copies of a Waiver of the Service of Summons




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along with a prepaid USPS Priority Mail envelope were served on Defendant by Priority Mail

via the United States Postal Service (DE 3).

       5.      The Summons and copy of Plaintiff’s Complaint were subsequently served on

Defendant through Elite Legal Services of NY Inc. by substitute service, with a true copy of the

relevant documents annexed to Defendant’s door on April 27, 2022 and mailed to Defendant by

First Class Mail on May 2, 2022, as appears from the Affidavit of Service filed with the Court on

June 29, 2022 (DE 8).

       6.      I have not heard from Defendant nor any counsel for Defendant concerning

matters relating to this lawsuit and, to my knowledge, no filing with the Court was made by

Defendant under Local Civ. R. 6.1(b).

       7.      The time in which Defendant may answer or otherwise respond to Plaintiff’s

Complaint has expired and has not been further extended by the Court, and Defendant has not

answered or otherwise moved.

       8.      Accordingly, this request is being made for the entry of default against Defendant

in the above-captioned matter.



       I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.



Executed on: July 5, 2022                 DANIEL SZALKIEWICZ & ASSOCIATES, P.C.
             New York, NY
                                          /s/Daniel Szalkiewicz, Esq.
                                          Daniel S. Szalkiewicz




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